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 7

 8                              UNITED STATES DISTRICT COURT

 9                                     DISTRICT OF NEVADA

10    SERGIO PAULO DE LA CANAL, an                                   Case Number:
      individual,                                               2:21-cv-02098-APG-EJY
11
                                    Plaintiff,
12
             vs.                                         STIPULATION OF DISMISSAL OF
13                                                     DEFENDANT EQUIFAX INFORMATION
      CAPITAL ONE BANK (USA), N.A., a                    SERVICES LLC WITH PREJUDICE
14    National Association; EQUIFAX
      INFORMATION SERVICES LLC, a Foreign
15    Limited-Liability Company; EXPERIAN
      INFORMATION SOLUTIONS, INC., a
16    Foreign Corporation; and TRANS UNION
      LLC, a Foreign Limited-Liability Company,
17
                                    Defendant.
18

19         IT IS HEREBY STIPULATED by and between Plaintiff, Sergio Paulo De La Canal

20 (“Plaintiff”) and Defendant, Equifax Information Services LLC (“Defendant”), by and through

21 their respective attorneys of record, that all Plaintiff’s claims asserted against Defendant in the

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                                                 Page 1 of 2
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 1 above-captioned matter shall be and hereby are dismissed with prejudice and each party shall bear

 2 its own attorney fees and costs.

 3 Dated this 24th day of June, 2022.                 Dated this 24th day of June, 2022.

 4 COGBURN LAW                                        CLARK HILL PLLC

 5 By: /s/Erik W. Fox                                 By: /s/Gia N. Marina
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       Attorneys for Plaintiff
 9

10         IT IS SO ORDERED.

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12
                                                UNITED STATES DISTRICT JUDGE
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14                                              June 27, 2022
                                                DATE
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